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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

MITCHELL C. LOVE,                                 §
                                                  §
       Plaintiff,                                 §
                                                  §
VS.                                               §   CIVIL ACTION NO. SA-13-CA-587-FB
                                                  §
TI-ZACK CONCRETE, INC. and                        §
ROBERT CLAFFEY,                                   §
                                                  §
       Defendants.                                §

                    ORDER GRANTING AGREED MOTION TO DISMISS

       Before the Court is the Agreed Motion to Dismiss filed by the parties on June 19, 2014

(docket #35). Because all matters in controversy between the parties have been fully and finally

resolved, the parties ask the Court to dismiss all claims asserted or that could have been asserted by

Plaintiff Mitchell C. Love against Defendants Ti-Zack Concrete, Inc. and Robert Claffey be

dismissed with prejudice and that costs be taxed against the party incurring same. The Court finds

the motion has merit and should be granted.

       Accordingly, IT IS HEREBY ORDERED that the Agreed Motion to Dismiss (docket #35)

is GRANTED and this case is DISMISSED WITH PREJUDICE with costs taxed against the party

incurring same. Motions pending, if any, are also DISMISSED, and this case is CLOSED.

       It is so ORDERED.

       SIGNED this 20th day of June, 2014.


                                     _________________________________________________
                                      FRED BIERY
                                      CHIEF UNITED STATES DISTRICT JUDGE
